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5
      Attorney for Defendant
6     YEVGENIY M. VOSHEV

7
8                                  IN THE UNITED STATES DISTRICT COURT

9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         )   Case No. 2:18-CR-0070-CKD
11                                                     )
                      Plaintiff,                       )   STIPULATION AND ORDER TO CONTINUE
12                                                     )   STATUS CONFERENCE AND EXCLUDE
     vs.                                               )   TIME
13                                                     )
     CHRISTINA P. TERRY et al.                         )
14                                                     )   DATE: June 28, 2018
                      Defendants.                      )   TIME: 9:30am
15                                                     )   JUDGE: Hon. Carolyn K. Delaney
                                                       )
16
17             The Federal Public Defender’s Office through Rachelle Barbour, counsel for defendant

18    Yevgeniy M. Voshev, Dustin D. Johnson, counsel for defendant Christina P. Terry, Alin Cintean,

19    counsel for defendant Bruce A. Ramirez-Lopez, and the United States Attorney through its

20    respective counsel Eric Chang hereby stipulate to continue the status conferences scheduled for

21    June 28, 2018 at 9:30am until September 13, 2018 at 9:30am, and to exclude time between June

22    22, 2018 and September 13, 2018 under Local Code T4.

23             Codefendants Christina P. Terry, Yevgeniy M. Voshev, and Bruce A. Ramirez-Lopez

24    require further time to review discovery, conduct investigation on the facts of the case, and

25    consult with counsel. The parties agree that September 13, 2018 represents the best date for a

26    status conference.

27             Based on the foregoing, the parties agree time under the Speedy Trial Act should be

28    excluded from this order’s date, June 22, 2018, through and including September 13, 2018,

     Stipulation and Order to Continue Status Conference
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1     pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)(reasonable time to prepare) and General Order
2     479, Local Code T4.
3                                                          Respectfully submitted,
4
      DATE: June 22, 2018                                  HEATHER E. WILLIAMS
5                                                          Federal Defender

6                                                          /s/ Rachelle Barbour
                                                           RACHELLE BARBOUR
7
                                                           Assistant Federal Defender
8                                                          Attorney for Yevgeniy M. Voshev

9
      DATE: June 22, 2018                                  /s/ Dustin Johnson
10                                                         DUSTIN JOHNSON
11                                                         Attorney for Christina P. Terry

12    DATE: June 22, 2018                                  /s/ Alin Cintean
                                                           ALIN CINTEAN
13                                                         Attorney for Bruce A. Ramirez-Lopez
14
15    DATED: June 22, 2018                                 McGREGOR W. SCOTT
                                                           United States Attorney
16
                                                           /s/ Eric Chang
17                                                         ERIC CHANG
                                                           Special Assistant United States Attorney
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                                                           Attorney for Plaintiff
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     Stipulation and Order to Continue Status Conference
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                                                 PROPOSED ORDER
1
2     IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’

3     stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as

4     its order. The Court specifically finds the failure to grant a continuance in this case would deny

5     counsel reasonable time necessary for effective preparation, taking into account the exercise of

6     due diligence. The Court finds the ends of justice are served by granting the requested

7     continuance and outweigh the best interests of the public and defendant in a speedy trial.

8             The Court orders the time from the date the parties stipulated, up to and including

9     September 13, 2018, shall be excluded from computation of time within which the trial of this

10    case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)

11    and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It

12    is further ordered the June 28, 2018 status conference shall be continued until September 13,

13    2018 at 9:30am before Judge Delaney.

14
15    Dated: June 26, 2018

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     Stipulation and Order to Continue Status Conference
